Case 10-96777-mgd         Doc 46    Filed 01/10/12 Entered 01/10/12 18:28:01            Desc Main
                                    Document     Page 1 of 3




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                        :        CHAPTER 13
                                              :
         NICOLE NADINE MORRIS,                :        CASE NO.: 10-96777-MGD
         Debtor.                              :

NOTICE OF FILING OF MODIFICATION OF CONFIRMED PLAN, DEADLINE FOR FILING
  WRITTEN OBJECTIONS AND HEARING DATE AND TIME IF OBJECTION IS FILED

         To: Creditors and Other Parties in Interest

        PLEASE TAKE NOTICE that NICOLE NADINE MORRIS filed a proposed modification
to the confirmed plan in this case, a copy of which modification you are receiving with the notice
or have received by mail. Pursuant to Rule 3015(g) of the Federal Rules of Bankruptcy
Procedure, any creditor or other party in interest opposing this proposed modification must that
objection in writing with the Court on or before the following deadline.

        DEADLINE FOR FILING OBJECTION: Twenty-four (24) days after the date on which
this proposed modification was filed. The proposed modification was filed on January 10, 2012.
If the twenty-third day after the date of service falls on a weekend or holiday, the deadline is
extended to the next business day.

         PLACE OF FILING: Clerk, United States Bankruptcy Court
                          Room 1340
                          75 Spring Street., SW
                          Atlanta, GA 30303

       If you mail an objection to the Court for filing, you must mail it early enough so that the
Court will receive it on or before the deadline stated above.

      You must also serve a copy on the undersigned at the address stated below and on the
Debtor(s) at: 7155 Roswell Road, NE, #10, Atlanta, Georgia 30328.

        PLEASE TAKE FURTHER NOTICE that if an objection to the proposed Modification is
timely filed, the Court will hold a hearing on the modification on February 8, 2012 at 9:50 AM in
Courtroom 1201, United States Courthouse, Richard B. Russell Federal Building, 75 Spring St.,
SW, Atlanta, GA 30303. If no objection is timely filed, the Court may approve the proposed
modification without further order or notice.

Dated: January 10, 2012                       Respectfully submitted,
                                              VAN WIEREN LAW FIRM, LLC
angel@vanwierenlaw.com                        Attorney to Debtor
675 Seminole Ave., NE, #103                   /s/____________________________
Atlanta, GA 30307                             Angel M. Van Wieren
(404) 963-7408                                GA Bar No. 123009
                                                  1
Case 10-96777-mgd         Doc 46     Filed 01/10/12 Entered 01/10/12 18:28:01            Desc Main
                                     Document     Page 2 of 3




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                         :        CHAPTER 13
                                               :
         NICOLE NADINE MORRIS,                 :        CASE NO.: 10-96777-MGD
         Debtor.                               :

                      POST-CONFIRMATION MODIFICATION OF PLAN

         COMES NOW, Nicole Nadine Morris (the “Debtor”), by and through counsel and files

this Post-Confirmation Modification of Plan and requests that the proposed modifications be

approved.

                                    MODIFICATION OF PLAN

         The Debtor hereby modifies the Chapter 13 Plan, which this Honorable Court confirmed

on April 8, 2011. The following modifications are proposed for purposes of paying the Debtor’s

attorney fees at the earliest possible disbursements.

Administrative Claims. Trustee will pay in full allowed administrative claims and expenses
pursuant to §507(a)(2) as set forth below, unless the holder of such claim or expense has agreed
to a different treatment of its claim.

         (B). Debtor’s Attorney’s Fees. Debtor and Debtor’s attorney have agreed to a base
         attorney fee in the amount of $3,500.00 for the services identified in the Rule 2016(b)
         disclosure statement filed in this case. The amount of $691.00 was paid prior to the filing
         of the case. The balance of the fee shall be disbursed by Trustee as follows: (1) Upon the
         first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor’s
         attorney from the proceeds available and paid into the office of the Trustee by Debtor or
         on Debtor’s behalf, up to $1,000.00 after the payment of adequate protection payments
         and administrative fees. The remaining balance of the fees shall be paid up to $850.00 per
         month until the fees are paid in full; (2) If the case is dismissed or converted prior to
         confirmation of the plan, the Trustee shall pay fees to Debtor’s attorney from the
         proceeds available and paid into the office of the Trustee by Debtor or on Debtor’s behalf,
         all funds remaining, not to exceed $2,809.00, after payment of any unpaid filing fees,
         Trustee’s fees and expenses, and adequate protection payments, if applicable.

         HOW ADDITIONAL NON-BASE FEES ARE TO BE PAID:
         Debtor and Debtor’s attorney have agreed that if circumstances not presently known
         require more than the usual and customary services, Debtor’s attorney may file a fee
         application for additional compensation at the rate of $200.00 per hour. Debtor and
         Debtor’s attorney have further agreed that any services not listed in paragraph 6 of the
                                                   2
Case 10-96777-mgd         Doc 46   Filed 01/10/12 Entered 01/10/12 18:28:01              Desc Main
                                   Document     Page 3 of 3




       2016(b) disclosure statement shall constitute work beyond the usual and customary
       services. If the application for additional attorney’s fees is approved by the court, then the
       fee shall be added to the balance of the unpaid base fee in this case and paid in accordance
       with paragraph b(i) above. If the base fee has been paid in full, then the fee shall be paid
       up to $850.00 per month, and the distribution to creditors shall be reduced, pro rata, by
       that amount until the additional fee is paid in full.

Dated: January 10, 2012                       Respectfully submitted,
                                              VAN WIEREN LAW FIRM, LLC
                                              Attorney to Debtor

                                              /s/____________________________
                                              Angel M. Van Wieren
                                              GA Bar No. 123009
                                              675 Seminole Ave., NE, #103
                                              Atlanta, GA 30307
                                              (404) 963-7408
                                              angel@vanwierenlaw.com




                                                 3
